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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

STEPHANIE RILEY,
Individually and on behalf of all
others similarly situated,
                                        Case No: 2:22-cv-12555
      Plaintiff,
                                        Hon. Laurie J. Michelsen
v.
                                        Mag. Judge Elizabeth A. Stafford
HENRY FORD HEALTH SYSTEM,

      Defendant.

 Jennifer McManus (P65976)            Allan S. Rubin (P44420)
 FAGAN McMANUS, P.C.                  Daniel C. Waslawski (P78037)
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                           JOINT STATUS REPORT
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      1.    The Parties agreed and this Court ordered a stay of this litigation from

January 5, 2023 through March 24, 2023, to allow the Parties time to exchange

information and attend mediation. ECF No. 23.

      2.    The Parties attended mediation on March 22, 2023 with Michael

Russell, Esq., Miles Mediation and Arbitration Services.

      3.    The Parties reached a resolution at mediation and anticipate filing

settlement approval documents within thirty (30) days.

Date: March 24, 2023                        Respectfully submitted,

/s/ Austin W. Anderson                    /s/ Allan S. Rubin
Jennifer McManus (P65976)                 Allan S. Rubin (P44420)
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